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                                                            Kenneth R. Meyer                        McCarter & English, LLP
                                                            Partner                                  Four Gateway Center
                                                            T. Certified by the Supreme Court of New 100 Mulberry Street
                                                            Jersey as a Civil Trial Attorney         Newark, NJ 07102
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   September 9, 2020

   VIA ECF

   Clerk
   U.S. District Court for the District of New Jersey
   Martin Luther King Building and U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07102

   Re:     Hankins v. Philadelphia Contributionship Insurance Co., et al.
           Civil Action No. 2:15-cv-00203-JMV-MF

   Dear Sir/Madam:

   I, along with Jennifer G. Cooper, Esq. and Matthew Leonard, Esq. (pro hac vice) of Baker,
   Donelson, Bearman, Caldwell & Berkowitz, P.C., represent defendants Crawford & Company
   and J. Clay Kincaid in the above matter.

   On September 8, 2020, we electronically paid the $150.00 fee for both Jennifer G. Cooper,
   Esq. and Matthew Leonard, Esq. to receive court notices in this case. A copy of each
   payment confirmation is attached. It was brought to our attention that these fees were
   previously paid in April, 2015 and we write to request a refund for the September 8, 2020
   payments.

   Should you require any additional information, please contact Diane D. Pugliese of my office
   at 732.299.8258. Thank you for your assistance in this matter.

   Very truly yours,

   s/ Kenneth R. Meyer

   Kenneth R. Meyer

   cc:   Michael A. Gibson, Esq. (via ECF)
         Scott J. Tredwell, Esq. (via ECF)
         David A. Semple, Esq. (via ECF)




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